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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                     JONESBORO DIVISION


ERICK WOODRUFF                                                 PLAINTIFF

v.                      No. 3:17-cv-203-DPM

CITY OF JONESBORO, ARKANSAS; and
SUZANNE ALLEN; DEWAYNE DOUGLAS;
and MAYOR HAROLD PERRIN, in their
Individual and Official Capacities                           DEFENDANTS


                                 ORDER

     This case names Harold Perrin as a defendant, both as mayor of

Jonesboro and individually.    The dispute involves Erick Woodruff, a

former Jonesboro employee, Perrin' s son, and other city employees. Mayor

Perrin and I have lived in the same neighborhood, and been friends, for

many years. My impartiality in handling this case might reasonably be

questioned. 28 U.S.C. §455(a). I therefore recuse. The Clerk must reassign

this case at random by chip exchange.

      So Ordered.


                                                        ?/
                                        D.P. Marshall Jr.
                                        United States District Judge
